       Case 4:12-cr-00006-MFU                  Document 50           Filed 05/31/12          Page 1 of 6             Pageid#: 124
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                                     UNITED STATES DISTRICT COURT                                                     MAY !1& 1
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         UNITED STATES OF AM ERICA                                    JU D GM EN T IN A CRIM IN AL CASE
                           V'                                         CaseNumber: DVAW 4l2CR000006-00)
       RASHAW N BERN ARD VA LENTIN E                                  Case Num ber:
                                                                      U SM N um ber: 16446-084
                                                                      StuartJ.Pearson
                                                                      Det-endant'sAttorney                       .
TH E D EFEN DA N T:
(
kIpleadedguiltytocountts)




Thedefendantisadjudicatedguilty oftheseoffenses:
  Title & Section             Nature ofOffense                                                       O ffense Ended                Count
18USC j37l             Conspiracy to StealFirearmsFrom aLicensedFirearmsDealer                            9/12/11




       Thedefendantissentencedasprovidedin pages2through                    6       ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof 1984.
U1Thedefendanthasbeenfoundnotguilty on countts)
X1Countts)                    2,3                    1
                                                     -7 is X aredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendyntmustnotifytheUnjtedStatesattorpeyforthisdiltrjctwithin30daysofpnychangeofname,residepce
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                                                                                                               pald.Iforderedtopayrestitutlon,
                                                                     5/31/2012
                                                                     DateofImpositionofJudgment
                                                                                                    w                  /   '
                                                                                                         4
                                                                     Signatu ofJudge



                                                                     Jackson L.KiseraSeniorUnited StatesDistrictJudge
                                                                     Nameand Title ofludge


                                                                     Date
                                                                                f1
        Case 4:12-cr-00006-MFU                  Document 50            Filed 05/31/12       Page 2 of 6       Pageid#: 125
AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinCriminalCase
           Sheet2 -llnprisonment                         --. ...               - ..


                                                                                                 Judgm ent-Page   2   of     6
D EFEN D AN T: RASHAW N BERNARD VALENTINE
CA SE N UM BER :DVAW 412CR000006.001


                                                              IM PR ISO N M EN T

        The defendantishereby com mitted to the custody oftheUnited StatesBureau ofPrisonsto be imprisoned fora
 totalterm of:
    24 months.




    K ThecourtmakesthefollowingrecolnmendationstotheBureauofPrisons:
    thatthe defendantreceiveappropriate dnlg treatm entwhile im prisoned.



    X ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    I--I ThedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict:
        r-I at                                  (Z a,m. r-I p.m .
        r-I asnotifiedby theunitedstatesM arshal.

    F-l ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureau ofPrisons:
        I--I before           on
        I
        '-I asnotified bytheUnitedStatesM arshal.
        r-I asnotitied bytheProbation orPretrialServicesOffice.


                                                                   RE TU R N
 Ihaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                                                         to
a                                                 ,   withacertifiedcopyofthisjudgment.


                                                                                              tJNITED STXTESMARSHAL

                                                                       By
                                                                                           DEPUTY UNITED STATESMARSHAL
      Case 4:12-cr-00006-MFU                  Document 50             Filed 05/31/12     Page 3 of 6       Pageid#: 126


AO 2458   (Rev.9/1l-VAW Additions6/05)JudgmentinaCfimi
                                                     nalCase
          Sheet3- Supervised Release
                                                                                               Judgment- page   3     of       6
DEFEN DA N T: RASHAW N BERN ARD VALENTIN E
CA SE N U M BER :DVAW 412CR000006.001
                                                    SU PE R VISE D R ELEA SE
Upon releasefrom imprisonment,thedefendantshallbe on supervised release foraterm of:
3 years.

         Thedefendantmustreportto theprobationofficeinthedistricttowhichthedefendantisreleasedwithin72hoursofreleasefrom the
custody ofthe Bureau ofPrisons.
The defendantshallnotcom mitanotherfederal,state orIocalcrim e.
Thedefendantshallnotunlawfullypgssessacontrolledspbjtance.Thedefendantshallreflain from anyunlawfuluseofaqontrolled
substance. The defepdantshallsubm ltto one drug testwlthln 15 daysofrelease from im pnsonm entand atleasttwo periodlcdrug tests
thereafter,asdeterm lned by the coul'
                                    t.
(((J Theabovedrugtestingcondition issuspended,based onthecourt'sdeterminationthatthedefendantposesalow riskof
     futuresubstance abuse. (Check,fapplicable.
                                              )
K    Thedefendantshallnotpossessatirearm,ammunition,destructivedevice,orany otherdangerousweapon. (Check.fapplicable.
                                                                                                                    )
K    ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobation ofGcer.(Check,(
                                                                                           fapplicable.
                                                                                                      )
     ThedefendantshallcomplywiththereqB
                                      uirementsottheSexOffenderRegistrationandNotificationAct(42I/.S.C.j16901,qtseq.j
     works,isastudent,orwasconvlctedofau
     asdir
         ectedby the pr
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                                                                                   )derregistrationagencyinwhlchheorsheresldes,
                                                                                   .
     The defendantshallparticipate in an approved program fordomestic violence.(check,fapplicable.)
        Ifthisjudgmentimposeyafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay inaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
          Thedefcndantmustcom plyw iththestandard conditionsthathavebeenadoptedbythiscourtaswellaswithanyadditionalconditions
on the attached page.
                                   ST A N D A R D C O N D ITIO N S O F SU PER V ISIO N
      thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
      the defendantshallreportto the probation officerin a mannerand frequency directed by the courtorprobation officer;
      the defendantshallanswertruthfully allinquiriesby the probation officerand follow the instructionsofthe probation officer;
      thedefendantshallsupporthisorherdependentsand meetotherfamily responsibilities;
      thedefendantshallwork regularly ata Iaw fuloccupation,unlessexcused by the probation ofticerforschooling,training,orother
      acceptablereasons;
      thedefendantshallnotifytheprobationofficeratleastten dayspriortoany changeinresidenceorem ployment;
      thedefendantshallrefrain from excessive useofalcoholand shallnotpurchase,possess,use,distribute,oradpzinisterany
      controlledsubstanceorany paraphernaliarelatedto any controlledsubstances, exceptas prescribed by a physlcian;
      thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold, used,distributed,oradm inistered'     ,
      thedefendantshallnotassoçiatew ithanypersonsengaged incrim inalactivity andshallnotassociatew ithanypersonconvictedofa
      felony,unlessgrantedperm lssiontodoso bytheprobatlonofticer;
      thedefendantshallpermit!prqbationofficertoyisithim orheratany timeathomeorelsewhereandshallperm itconfiscationofany
      contraband observed ln plaln vlew ofthe probatlon officer;
      thedefendantshallnotify the probation officerwithin seventy-two hoursofbeing arrested orquestioned by a lgw enforcem entofficer;
      the dçfepdantshallnotenterinto any agreementto actasan inform eror a specialagentofa law enforcementagency withoutthe
      perm lsslon ofthe court;and

      asdirectedbytheprpbationofficer,thsdiefendantshallnotifythirdpartiesofrisksthatmaybeoccajionepbythedefendant'scriminal
      recordorpersonalhlstory prcharactepstcsand shallpennittheprobationofficertom akesuchnotlficatlonsandtoconfinn the
      defendant's com pliance w lth such notlfication requirem ent.
       Case 4:12-cr-00006-MFU                 Document 50          Filed 05/31/12         Page 4 of 6         Pageid#: 127
            (Rev.9/ll-VAW Additi
                               ons6/05)JudgmentinaCrilninalCase
            Sheet3C -Supervised Release
                                                                                                 Judgm ent-page    4    of       6
 D EFEN DA NT: RASHAW N BERNARD VALENTINE
 CASE N UM BER :DVAW 412CR000006-00l

                                      SPE CIA L C O N D ITIO N S O F SU PER V ISIO N
1.Thedefendantshallpayanyspecialassessmentandrestittztionthatisimposedbythisjudgment.
2. Thedefendantshallprovide the probation officerwith accessto any requested financialinform ation.

3. The defendantshallnotincurnew creditchargesoropen additionallines ofcreditwithoutthe approvalofthe probation officer.
4.Thedefendantshaltparticipatein aprogram oftesting andtreatmentforsubstanceabuse,asapprovedbytheprobationoftk ei,untilsuch
tim easthe defendanthassatisfied allrequirem entsofthe program .

5.The defendantshallresidein a residence freeoffirearm s,amm unition,destructivedevices,and dangerousweapons.
6, The defendantshallsubm itto warrantlesssearch and seizure ofperson and property asdirected by the probation officer,to detennine
w hetherthe defendantisin possession offirearm sand illegalcontrolled substances.
       Case 4:12-cr-00006-MFU                    Document 50      Filed 05/31/12          Page 5 of 6        Pageid#: 128
          (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase
          Sheet5 -CriminalM olletary Penalties
                                                                                            Judgm ent-Page      5   of       6
 DEFEN DAN T: RASHAW N BERN ARD V ALENTINE
 CA SE N U M BER:DVAW 4l2CR000006-001
                                            CRIM INA L M ONETA RY PENALTIES
     Thedefendantm ustpay thetotatcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                     A ssessm ent                               Fine                              Restitution
 TOTALS          $ 100,00                                   $                                  $ 4,439.31


 Z Thedeterminationofrestitutionisdeferreduntil             .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     aftersuch determ ination.

Z Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountJistedbelow.
     Ifthe defendantm akes apartialpaym ent,each payee shallreoeive an approximately proportioned paym ent,unlessspecified otherwise
     in thepriority orderorpercentage paym entcolum n below . However,pursuantto l2U.   S.C j3664(1),allnonfederal victimsmustbe
     paid beforethe United States ispaid.
Nam e ofPavee                                        TotalLoss*                 Restitution Ordered         Prioritv orPercentaee
SouthernGunlncorporated                                                                           $4,439.3l




TOTALS                                                          $0.00                            $4,439.31

I
-7 Restitutionamountorderedpurstlanttopleaagreement$
1
-1 Thedefendantmustpayinterestonrestitutionand afineofmorethan$2,500,unlesstherestitution or5neispaidin fu11before the
    tifteenthdayafterthedateofthejudgment,pursuantto13U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
    to penaltiesfordelinquency and default pursuantto 18U .S.C.j3612(g).

Ik Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
   FR1 theinterestrequirementiswaivedforthe 1       -7 fine f-lx restitution.


   I
   --I theinterestrequirementforthe I     --I fine F7 restitution ismodifiedasfollows:


*Findingsforthetotalam ountoflossesare required underChapters l09A, 1l0,lIOA,and l13A ofTitle 13 foroffensescomm itted on
oraûer Septem berl3,1994,butbefore Aprill3, 1996.
       Case 4:12-cr-00006-MFU                 Document 50         Filed 05/31/12         Page 6 of 6        Pageid#: 129
           (Rev.9/11-VAW Addi
                            tions6/05)JudgmentinaCriminalCase
           Sheet6 -Schedule ofPayments
                                                                                              Judgm ent-Page     6     of       6
DEFEN D AN T : RASHAW N BERNARD VALEN TINE
CA SE N UM BER: DVAW 412CR000006-001

                                               SC H ED U LE O F PA Y M EN T S
Having assessed the defendant'sability to pay,the totalcriminalmonetary penaltiesare due imm ediately and payable asfollows:

     I
     K Lumpsum paymentof$ 100.00                       immediately,balancepayable
           r-l notlaterthan                                ,or
           K inaccordance           I-Ic, r-1D, Z E, K For, Z G below);or
B IZI Paymenttobeginimmediately(maybecombinedwith Z C, N D, N F,or Z G below);or
  EEI Paymentinequal               (e.g.,weekly,monthly,quarterly)installmentsof$ - .. overaperiodof
                 (e.g.,monthsoryears),tocommence                  (e.g.,30or60days)afterthedateofthisjudgment',or
D f-l Paymentinequal                  (e.g.,weekly,monthly,quarterly)installmentsof$                   overaperiodof
                 (e.g.,monthsoryears),tocommence                  (e.g.,30or60days)afterreleasefrom imprisonmenttoa
           term ofsupervision;or
E r-l Paymentduringtheterm ofsupervisedreleasewillcommencewithin                           (e.g.,30or60days)afterrelease9om
           im prisonm ent.The courtwillsetthepaym entplan based on an assessmentofthe defendant'
                                                                                               sability to pay atthattime'
                                                                                                                         , or

F X Duringtheterm ofimprisonment,paymentïnequal monthly (e.j..weeklv,monthly,quarterly)installmentsof
         $       25.00   ,or 50 % ofthedefendant'sincome,whicheverls less ,to commence   60         (e.
                                                                                                      g.,30or
         60days)afterthedateofthisjudgment;AND paymentinequal monthly (e.g.,weekly,monthly,quarterly)
         installmentsof$ 100.00       duringtheterm ofsupervisedrelease,to commence 60    (e.g.,30or60days)
         aherrelease from im prisonm ent.
G    r-I Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:



Any installmentschedule shallnotpreclude enforcem entofthe restitution orfine orderby the United Statesunder l8 U .S.C jj3613and
3664(m).
Anyinstallmentscqeduleissubjgcttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmsnt(lrsupervision.andthe
                                                                                              .
defendantshallpotlfytheprobatlonofficerandtheU.S.Attonzeyofany changeinthedefendant'seconomlcclrcumstancesthatmay affectthe
defendant'
         sabillty to pay.
Al
d  lcriminalmonetarypenaltiesshallbemadepayabletotheClerk,U.S.DistrictCourt,P.O.Box1234,Roanoke,Virginia24006,for
 lsbursement.
The defendantshallreceivecreditforallpaym entspreviously madetoward any criminalmonetary penaltiesimposed.
K JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber).TotalAmount,JointandSeveralAmount,
     and corresponding payee,ifappropriate.
JawayneM auriceGravely(4:12CR00006-002)                           $4,439.31                   $4,439.31 SouthernGun Incorporated


r-I Thedefendantshallpay thecostofprosecution.
F1 Thedefendantshallpaythefollowingcourtcostts):
EEI Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:


Paymentsshallbeapplied inthefollowingorder:(l)assessment,(2)restitutionprincipal,(3)restitution interest,(4)fineprincipal,
(5)fineinterest,(6)community restitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
